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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
In re:                                                        ) Chapter 11
                                                              )
SBARRO, INC., et al.,1                                        ) Case No. 11-11527 (SCC)
                                                              )
                          Debtors.                            ) Jointly Administered
                                                              )

                  ORDER EXTENDING THE EXCLUSIVE PERIODS
                  DURING WHICH ONLY THE DEBTORS MAY FILE
             A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

         Upon the motion (the “Motion”)2 of Sbarro, Inc. (“Sbarro”) and certain of its affiliates,

as debtors and debtors in possession (collectively, the “Debtors”), for entry of an order

(this “Order”) extending the Exclusive Periods during which only the Debtors may file a

chapter 11 plan and solicit acceptances thereof; and this Court having found that this Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that the

Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

venue of this proceeding and the Motion in this District is proper pursuant to 28 U.S.C. § 1408;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors and other parties in interest; and notice of the Motion appearing


1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Sbarro, Inc. (1939); Sbarro Holdings, LLC (3819); Carmela’s of Kirkman Operating, LLC
    (1182); Carmela’s of Kirkman LLC (7703); Carmela’s, LLC (8088); Corest Management, Inc. (9134); Demefac
    Leasing Corp. (2379); Larkfield Equipment Corp. (7947); Las Vegas Convention Center LLC (7645); Sbarro
    America Properties, Inc. (9540); Sbarro America, Inc. (9130); Sbarro Blue Bell Express LLC (1419); Sbarro
    Commack, Inc. (4007); Sbarro Express LLC (0253); Sbarro New Hyde Park, Inc. (6185); Sbarro of Las Vegas,
    Inc. (2853); Sbarro of Longwood, LLC (0328); Sbarro of Virginia, Inc. (2309); Sbarro Pennsylvania, Inc.
    (3530); Sbarro Properties, Inc. (9541); Sbarro Venture, Inc. (3182); Sbarro’s of Texas, Inc. (5139); Umberto at
    the Source, LLC (8024); Umberto Deer Park, LLC (8728); Umberto Hauppauge, LLC (8245); Umberto
    Hicksville, LLC (0989); Umberto Huntington, LLC (8890); and Umberto White Plains, LLC (8159). The
    Debtors’ service address is: 401 Broadhollow Road, Melville, New York 11747.

2   All capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Motion.
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adequate and appropriate under the circumstances; and this Court having found that no other or

further notice need be provided; and this Court having reviewed the Motion and having heard

statements in support of the Motion at a hearing held before this Court (the “Hearing”); and this

Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and this Court having found that the

relief requested in the Motion is necessary to prevent immediate and irreparable harm; and any

objections to the relief requested herein having been withdrawn or overruled on the merits; and

after due deliberation and sufficient cause appearing therefore, it is hereby ORDERED THAT:

       1.      The Motion is granted to the extent provided herein.

       2.      The Exclusive Filing Period is hereby extended for 90 days through and including

October 31, 2011, and the Exclusive Solicitation Period is hereby extended for 90 days through

and including December 31, 2011.

       3.      This Order is without prejudice to the Debtors’ ability to seek further extensions

of the Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code or to the rights of

any party in interest to seek to terminate exclusivity.

       4.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       5.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       6.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.




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       7.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated: July 26, 2011
New York, New York
                                                     /s/ Shelley C. Chapman
                                                     Honorable Shelley C. Chapman
                                                     United States Bankruptcy Judge




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